                   Case 07-10416-BLS                       Doc 4741-1                  Filed 01/30/08   Page 1 of 3




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


In re
                                                                           Chapter 11
NEW CENTURY TRS HOLDINGS, INC.,                                            Case No. 07-10416-KJC
et al.,
                                                                           Objections due by: February 13, 2008, 4:00 p.m.
                                                                           Hearing Date: February 20, 2008, 1:30 p.m.
                                   Debtor.


                   NOTICE OF MOTION OF DEUTSCHE
              BANK TRUST COMPANY AMERICAS, AS TRUSTEE
           AND CUSTODIAN FOR HSBC BANK USA, NA ACE 2006-NC1
   FOR RELIEF FROM STAY UNDER SECTION 362 OF THE BANKRUPTCY CODE

TO:
  New Century TRS Holdings, Inc.                                              United States Trustee
  New Century TRS Holdings                                                    844 King Street, Room 2207
  18400 Von Karman Ave.                                                       Lockbox #35
  Irvine, CA 92612                                                            Wilmington, DE 19899
  Debtor

  Mark D. Collins, Esquire                                                    Bonnie Glantz Fatell, Esquire
  Christopher M. Samis, Esquire                                               David W. Carickhoff, Jr., Esquire
  Richards, Layton & Finger                                                   Blank Rome LLP
  One Rodney Square                                                           1201 Market Street, Suite 800
  P.O. Box 551                                                                Wilmington, DE 19801
  Wilmington, DE 19899                                                        Attorneys for the Official Committee
  Attorneys for the Debtor                                                     of Unsecured Creditors


  Suzanne S. Uhland, Esquire                                                  Mark T. Power, Esquire
  Ben H. Logan, Esquire                                                       Mark S. Indelicato, Esquire
  O’Melveny & Myers LLP                                                       488 Madison Ave.
  275 Battery Street                                                          14th & 15th Floor
  San Francisco, CA 94111                                                     New York, NY 10022
  Attorneys for the Debtor                                                    Attorneys for the Official Committee
                                                                               of Unsecured Creditors

         Deutsche Bank Trust Company Americas, as Trustee and Custodian for HSBC Bank
USA, NA ACE 2006-NC1 has filed a Motion for Relief from Stay which seeks the following
relief: Relief from the automatic stay to exercise its non-bankruptcy rights with respect to certain



Movant: Deutsche Bank Trust Company Americas, as Trustee and Custodian for HSBC Bank
   USA, NA ACE 2006-NC1
D&G Reference: 212145
            Case 07-10416-BLS          Doc 4741-1      Filed 01/30/08     Page 2 of 3




real property in which the above-captioned debtor may hold an interest. A complete list of the
real property to which the motion relates is attached to the motion as Exhibit A.
HEARING ON THE MOTION WILL BE HELD ON FEBRUARY 20, 2008, 1:30 P.M.

        You are required to file a response (and the supporting documentation required by Local
Rule 4001-1(d)) to the attached motion at lease five business days before the above hearing date.
At the same time, you must also serve a copy of the response upon movant’s attorneys:

 James E. Clarke, Esquire          Thomas D.H. Barnett, Esquire      Adam Hiller, Esquire
 Draper & Goldberg, PLLC           Draper & Goldberg, PLLC           Draper & Goldberg, PLLC
 803 Sycolin Road, Suite 301       P.O. Box 947                      1500 North French Street
 Leesburg, VA 20175                512 East Market Street            2nd Floor
                                   Georgetown, DE 19947              Wilmington, DE 19801
                                                                     (302) 339-8776 telephone

       The hearing date specified above may be a preliminary hearing or may be consolidated
with the final hearing, as determined by the Court.

        The attorneys for the parties shall confer with respect to the issues raised by the motion in
advance for the purpose of determining whether a consent judgment may be entered and/or for
the purpose of stipulating to relevant facts such as value of the property, and the extent and
validity of any security instrument.

    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE RELIEF REQUESTING IN THE MOTION MAY BE GRANTED BY THE
COURT WITHOUT FURTHER NOTICE OR HEARING.
Dated: January 30, 2008                       Respectfully submitted,
       Wilmington, Delaware
                                              DRAPER & GOLDBERG, PLLC


                                               /s/ Adam Hiller
                                              Adam Hiller (DE No. 4105)
                                              1500 North French Street, 2nd Floor
                                              Wilmington, Delaware 19801
                                              (302) 339-8776 telephone
                                              (302) 213-0043 facsimile

                                              and

                                              James E. Clarke, Esquire
                                              Draper & Goldberg, PLLC
                                              803 Sycolin Road, Suite 301
                                              Leesburg, VA 20175



                                                -2-
Case 07-10416-BLS   Doc 4741-1   Filed 01/30/08   Page 3 of 3




                         and

                         Thomas D.H. Barnett (DE No. 994)
                         Draper & Goldberg, PLLC
                         P.O. Box 947
                         512 East Market Street
                         Georgetown, Delaware 19947

                         Attorneys for Movant




                           -3-
